19-23649-shl Doc 3002-6 Filed 06/05/21 Entered 06/05/21 00:42:42 Exhibit G-
     Generic RFPs to Certain Holders of General Unsecured Claims Pg 1 of 9




                EXHIBIT G
    19-23649-shl Doc 3002-6 Filed 06/05/21 Entered 06/05/21 00:42:42 Exhibit G-
         Generic RFPs to Certain Holders of General Unsecured Claims Pg 2 of 9



DAVIS POLK & WARDWELL LLP
450 Lexington Avenue
New York, New York 10017
Telephone: (212) 450-4000
Facsimile: (212) 701-5800
Marshall S. Huebner
Benjamin S. Kaminetzky
James I. McClammy
Marc J. Tobak
Gerard X. McCarthy

Counsel to the Debtors
and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                 Chapter 11

PURDUE PHARMA L.P., et al.,                            Case No. 19-23649 (RDD)

               Debtors.1                               (Jointly Administered)


    DEBTORS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS TO
            CERTAIN HOLDERS OF GENERAL UNSECURED CLAIMS




1
  The Debtors in these cases, along with the last four digits of each Debtor’s registration number
in the applicable jurisdiction, are as follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc.
(7486), Purdue Transdermal Technologies L.P. (1868), Purdue Pharma Manufacturing L.P.
(3821), Purdue Pharmaceuticals L.P. (0034), Imbrium Therapeutics L.P. (8810), Adlon
Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150), Seven Seas Hill Corp. (4591),
Ophir Green Corp. (4594), Purdue Pharma of Puerto Rico (3925), Avrio Health L.P. (4140),
Purdue Pharmaceutical Products L.P. (3902), Purdue Neuroscience Company (4712), Nayatt
Cove Lifescience Inc. (7805), Button Land L.P. (7502), Rhodes Associates L.P. (N/A), Paul
Land Inc. (7425), Quidnick Land L.P. (7584), Rhodes Pharmaceuticals L.P. (6166), Rhodes
Technologies (7143), UDF LP (0495), SVC Pharma LP (5717) and SVC Pharma Inc. (4014).
The Debtors’ corporate headquarters is located at One Stamford Forum, 201 Tresser Boulevard,
Stamford, CT 06901.
    19-23649-shl Doc 3002-6 Filed 06/05/21 Entered 06/05/21 00:42:42 Exhibit G-
DRAFT Generic RFPs to Certain Holders of General Unsecured Claims Pg 3 of 9
                                                                          PRIVILEGED & CONFIDENTI AL
                                                                           ATTORNEY WORK PRODUCT


               Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure (the “Federal

        Rules”), as made applicable here by Rules 7026, 7034, and 9014 of the Federal Rules of

        Bankruptcy Procedure (the “Bankruptcy Rules”), Purdue Pharma L.P. (“PPLP”) and its affiliated

        debtors in the above-captioned chapter 11 cases (the “Cases”) hereby request that each holder of

        a General Unsecured Claim, as set forth in Sections 1.1 and 4.13 of the Plan, that has asserted or

        may assert any objections to produce the documents and information requested herein at the

        offices of Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York, New York 10022 by

        the dates set forth in paragraph 3.d of the Bankruptcy Court’s Second Amended Order Granting

        Debtors’ Motion for Order Establishing Confirmation Schedule and Protocols [Dkt. No. 2989]

        (the “Protocols Order”) and in accordance with the Definitions and Instructions set forth below.

                                                 DEFINITIONS

               1.      The definitions and rules of construction set forth in Rule 34 of the Federal Rules

        and Rule 26.3 of the Local Rules of the United States District Courts for the Southern and

        Eastern Districts of New York (the “Local District Court Rules”), as made applicable here by

        Rule 7026-1 of the Local Rules for the United States Bankruptcy Court for the Southern District

        of New York (the “Local Bankruptcy Rules”)—including, but not limited to, the definitions of

        “Document,” “Communication,” “Concerning,” and “Person”—are hereby incorporated and

        apply to the requests for the production of Documents set forth herein (the “Requests,” and each,

        a “Request”). These definitions apply throughout these Requests without regard to

        capitalization. The Debtors reserve the right to deliver and serve additional requests for
        19-23649-shl Doc 3002-6 Filed 06/05/21 Entered 06/05/21 00:42:42 Exhibit G-
             Generic RFPs to Certain Holders of General Unsecured Claims Pg 4 of 9
                                                                     PRIVILEGED & CONFIDENTI AL
DRAFT                                                                 ATTORNEY WORK PRODUCT


    production of Documents. In addition, as used in the Requests, the words set forth below shall

    be defined as follows:2

            2.     The term “Bankruptcy Code” means title 11 of the United States Code.

            3.     The term “Bankruptcy Court” means the United States Bankruptcy Court for the

    Southern District of New York overseeing the Chapter 11 Cases.

            4.     The term “Chapter 11 Cases” means the above-captioned chapter 11 cases.

            5.     The terms “Debtor” or “Debtors” refer, individually or collectively, to Purdue

    Pharma L.P., Purdue Pharma Inc., Purdue Transdermal Technologies L.P., Purdue Pharma

    Manufacturing L.P., Purdue Pharmaceuticals L.P., Imbrium Therapeutics L.P., Adlon

    Therapeutics L.P., Greenfield BioVentures L.P., Seven Seas Hill Corp., Ophir Green Corp.,

    Purdue Pharma of Puerto Rico, Avrio Health L.P., Purdue Pharmaceutical Products L.P., Purdue

    Neuroscience Company, Nayatt Cove Lifescience Inc., Button Land L.P., Rhodes Associates

    L.P., Paul Land Inc., Quidnick Land L.P., Rhodes Pharmaceuticals L.P., Rhodes Technologies,

    UDF LP, SVC Pharma LP, and SVC Pharma Inc.

            6.     The term “Disclosure Statement” refers to the Fifth Amended Disclosure

    Statement filed by the Debtors on June 3, 2021 in the Chapter 11 Cases [Dkt. No. 2983], as the

    same may be amended, supplemented or otherwise modified from time to time.

            7.     The term “Plan” refers to the Fifth Amended Joint Chapter 11 Plan of

    Reorganization of Purdue Pharma and its Affiliated Debtors filed by the Debtors on June 3,

    2021 in the Chapter 11 Cases [Dkt. No. 2982], as the same may be amended, supplemented or

    otherwise modified from time to time.


    2
     Except where otherwise indicated, capitalized terms used but not defined herein have the
    meanings ascribed to them in the Plan, as the same may be amended, supplemented or otherwise
    modified from time to time.

                                                    3
     19-23649-shl Doc 3002-6 Filed 06/05/21 Entered 06/05/21 00:42:42 Exhibit G-
          Generic RFPs to Certain Holders of General Unsecured Claims Pg 5 of 9
                                                                       PRIVILEGED & CONFIDENTI AL
DRAFT                                                                   ATTORNEY WORK PRODUCT


           8.      The term “Proof of Claim” refers to any and all proofs of claim and all supporting

    documentation for any such proofs of claim filed by You in the Chapter 11 Cases.

           9.      The terms “You” and “Your” refer to each holder of a General Unsecured Claim,

    as set forth in Sections 1.1 and 4.13 of the Plan, that has asserted or may assert any objections to

    confirmation of the Plan and/or approval of any settlement contemplated by the Plan, or that

    intends to offer into evidence or use in any manner materials at the Confirmation Hearing, and to

    each affiliate, predecessor, successor, division, parent, subsidiary, or member of any such holder

    of a General Unsecured Claim; each person directly or indirectly, wholly or in part, owned or

    controlled by any such holder of a General Unsecured Claim; each partnership or joint venture to

    which any such holder of a General Unsecured Claim is a party; all present and former directors,

    officers, employees, agents, consultants, or other persons acting on behalf of any such holder of a

    General Unsecured Claim; and the persons to whom these Requests are addressed, including

    each such person’s agents, representatives, or attorneys.

           10.     To bring within the scope of these Requests all information that might otherwise

    be construed to be outside of their scope, the following rules of construction apply: (i) the

    singular includes the plural and vice versa; (ii) the masculine, feminine, or neuter pronoun does

    not exclude other genders; (iii) the connectives “and” and “or” should be read either

    disjunctively or conjunctively as necessary to bring within the scope of the discovery request all

    responses that might otherwise be construed to be outside of its scope; (iv) the terms “any,” “all,”

    and “each” should be read to mean any, all, each, and every; (v) the word “including” should be

    read to mean including, without limitation; (vi) the present tense should be construed to include

    the past tense and vice versa; (vii) references to employees, officers, directors, or agents include

    both current and former employees, officers, directors, and agents; and (viii) defined terms



                                                      4
     19-23649-shl Doc 3002-6 Filed 06/05/21 Entered 06/05/21 00:42:42 Exhibit G-
          Generic RFPs to Certain Holders of General Unsecured Claims Pg 6 of 9
                                                                      PRIVILEGED & CONFIDENTI AL
DRAFT                                                                  ATTORNEY WORK PRODUCT


    should be given their broadest meaning regardless of whether they are capitalized in the

    Requests.

                                            INSTRUCTIONS

           1.      These Requests are continuing in nature, requiring supplemental production of

    Documents if You later identify additional Documents responsive to these requests pursuant to

    Federal Rules of Civil Procedure 26(e) and 34, as made applicable here by Rules 7026, 7034,

    and 9014 of the Bankruptcy Rules.

           2.      In complying with the Requests, You are required to produce all Documents and

    Communications described below which are in Your possession, custody, or control, including

    those Documents and Communications in the possession, custody, or control of each of Your

    affiliates, predecessors, successors, divisions, parents, subsidiaries, members, employees, agents,

    investment managers, investment advisers, financial advisers, investigators, accountants,

    attorneys, or other persons acting on your behalf, regardless of location.

           3.      These Requests are propounded on each holder of a General Unsecured Claim

    that has asserted or may assert any objections to confirmation of the Plan and/or approval of any

    settlement contemplated by the Plan, or that intends to offer into evidence or use in any manner

    materials at the Confirmation Hearing. Each such holder of a General Unsecured Claim must

    either join responses and/or objections to the Requests or provide its own responses and/or

    objections to the Requests.

           4.      For the purpose of reading, interpreting, or construing the scope of these

    Requests, the terms used should be given their most expansive and inclusive interpretation.

           5.      Unless instructed otherwise, each Request should be construed independently and

    not by reference to any other Request for the purpose of limitation.

           6.      If any portion of a Document or Communication is responsive to any Request, the

                                                     5
     19-23649-shl Doc 3002-6 Filed 06/05/21 Entered 06/05/21 00:42:42 Exhibit G-
          Generic RFPs to Certain Holders of General Unsecured Claims Pg 7 of 9
                                                                      PRIVILEGED & CONFIDENTI AL
DRAFT                                                                  ATTORNEY WORK PRODUCT


    entire Document or Communication should be produced.

           7.      You must respond to each Request separately and fully, unless it is objected to, in

    which event the reasons for the objection should be specifically and separately stated. If You

    object to part of a Request, You must produce all Documents and Communications responsive to

    the part of the Request to which You did not object.

           8.      If You withhold any Document or Communication, or any portion of any

    Document or Communication, under a claim of privilege or other protection, You shall comply

    with paragraph 4.f of the Protocols Order. For the avoidance of doubt, these Requests do not

    seek Documents or Communications that are subject to protection or immunity from disclosure

    pursuant to an applicable court order, including but not limited to the Bankruptcy Court’s Order

    Establishing the Terms and Conditions of Mediation Before The Honorable Shelley C. Chapman

    [Dkt. No. 2879], Order Expanding Scope of Mediation [Dkt. No. 1756], and Order Appointing

    Mediators [Dkt. No. 895] (collectively, the “Mediation Orders”); provided, however, that any

    Documents or Communications that are subject to confidentiality under the Mediation Orders or

    any other applicable court order must be logged in a privilege log in accordance with paragraph

    4.f of the Protocols Order.

           9.      If You cannot respond to these Requests in full after exercising due diligence to

    secure the Documents or Communications requested, You shall so state and respond to the extent

    possible, specifying the nature of Your inability to respond to the remainder.

           10.     If there are no Documents or Communications responsive to a particular Request

    in Your possession, custody, or control, provide a written response so stating.

           11.     If You believe that any Request, definition, or instruction is ambiguous, in whole

    or in part, You must nonetheless respond and (i) set forth the matter deemed ambiguous, and

    (ii) describe the manner in which You construed the Request in order to frame Your response.

                                                     6
     19-23649-shl Doc 3002-6 Filed 06/05/21 Entered 06/05/21 00:42:42 Exhibit G-
          Generic RFPs to Certain Holders of General Unsecured Claims Pg 8 of 9
                                                                       PRIVILEGED & CONFIDENTI AL
DRAFT                                                                   ATTORNEY WORK PRODUCT


           12.     Documents and Communications in electronic form, including e-mail, should be

    produced in single page tagged image file format (“TIFF”). Metadata associated with

    electronically stored information shall be produced in text format linked to the associated file.

    Extracted text files, if any, should be delivered in Document level text files. Spreadsheets,

    PowerPoint presentation files and structured database files should be provided in native format,

    with an accompanying placeholder Bates-numbered TIFF file. Each responsive spreadsheet or

    PowerPoint file should be clearly labeled to indicate the placeholder Bates number that

    corresponds to each spreadsheet.

           13.     Unless otherwise instructed, these Requests seek responsive Documents and

    Communications without limitation as to time.

           14.     These Requests should not be construed as a waiver or an abridgment of, and are

    not intended to waive, any argument or defense, nor shall they be construed as an agreement with

    or admission or acknowledgement of any allegation or assertion of the Debtors.

                                   REQUESTS FOR PRODUCTION

           1.      All Documents and Communications Concerning the Plan or any settlement

    contemplated by the Plan.

           2.      All Documents and Communications that relate to any objections that You have

    asserted or may assert to confirmation of the Plan and/or approval of any settlement

    contemplated by the Plan, including any Documents and Communications that You have relied

    on or may rely on Concerning any objections that You have asserted or may assert to

    confirmation of the Plan and/or approval of any settlement contemplated by the Plan.

           3.      All Documents and Communications that You intend to offer into evidence or use

    in any manner at the Confirmation Hearing in connection with any objection You have asserted



                                                     7
     19-23649-shl Doc 3002-6 Filed 06/05/21 Entered 06/05/21 00:42:42 Exhibit G-
          Generic RFPs to Certain Holders of General Unsecured Claims Pg 9 of 9
                                                                     PRIVILEGED & CONFIDENTI AL
DRAFT                                                                 ATTORNEY WORK PRODUCT


    or may assert to confirmation of the Plan and/or to approval of any settlement contemplated by

    the Plan.

             4.       All Documents and Communications that You intend to use in any manner at or in

    connection with any deposition, whether noticed by You or by any other party in interest, taken

    in connection, whether in whole or in part, with the Confirmation Proceedings or the

    Confirmation Hearing.


    Dated:        June 4, 2021
                  New York, New York

                                                  DAVIS POLK & WARDWELL LLP

                                                  By: /s/ Marc J. Tobak

                                                  450 Lexington Avenue
                                                  New York, New York 10017
                                                  Telephone: (212) 450-4000
                                                  Facsimile: (212) 701-5800
                                                  Marshall S. Huebner
                                                  Benjamin S. Kaminetzky
                                                  James I. McClammy
                                                  Marc J. Tobak
                                                  Gerard X. McCarthy

                                                  Counsel to the Debtors
                                                  and Debtors in Possession




                                                     8
